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 8

 9                            UNITED STATES DISTRICT COURT

10                 EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION

11   In re:                                         Case No. 1:24-cv-01102-KES-SAB

12   THE PRUDENTIAL INSURANCE
     COMPANY OF AMERICA; AND PGIM                   EX PARTE APPLICATION FOR LEAVE
13   REAL ESTATE FINANCE, LLC                       TO INTERVENE PURSUANT TO FED. R.
                                                    CIV. PROC. 24 FOR THE LIMITED
14                       Plaintiff(s).              PURPOSE OF OBJECTION TO THE
     v.                                             PROPOSED    ORDER    APPOINTING
15                                                  RECEIVER      WITH      LIMITED
     ACDF, LLC; ASSEMI AND SONS, INC.;              AUTHORITY BY INTERESTED THIRD
16   AVILA RANCH EA, LLC; BEAR FLAG                 PARTY AND POTENTIAL INTERVENOR
     FARMS, LLC; C & a FARMS, LLC;                  KEVIN ASSEMI
17   CANTUA ORCHARDS, LLC; DA REAL
     ESTATE HOLDINGS, LLC; FAVIER                                       [DKT NO. 33]
18   RANCH, LLC; FG2 HOLDINGS, LLC;
     GRADON FARMS, LLC; GRANVILLE                   Action filed: September 16, 2024
19   FARMS, LLC; GRANTLAND HOLDINGS
     NO. 1, LLC; GRANTLAND HOLDINGS NO.
20   2, LLC; GRANTOR REAL ESTATE
     INVESTMENTS, LLC; GVM
21   INVESTMENTS, LLC; GV AG, LLC;
     LINCOLN GRANTOR FARMS, LLC;
22   MARICOPA ORCHARDS, LLC; PANOCHE
     PISTACHIOS, LLC; SAGEBERY FARMS,
23   LLC; DEREB BELL; AND RACHEL MARIE
     WHITE,
24
                           Defendants.
25
                                Ex Parte Application to Intervene - 1
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 1
        EX PARTE APPLICATION TO INTERVENE AND FILE LIMITED OBJECTION
 2
     COMES NOW KEVIN ASSEMI, interested party and proposed intervenor, by and through his
 3
     counsel undersigned, who, pursuant to Fed. R. Civ. Proc. 24, respectfully moves this Honorable
 4
     Court for leave to intervene in this matter for the limited purpose of filing a limited objection to
 5
     the Agreed [Proposed] Order Appointing Receiver with Limited Authority (Dkt. No. 33)
 6
     pursuant to the Court’s Minute Order (Dkt. No. 36) dated September 23, 2024, and presents this
 7
     application as a matter of right pursuant to Fed. R. Civ. Proc. 24(a).
 8
            Kevin Assemi and Maricopa Orchards, LLC together own a substantial percentage of the
 9
     membership interests of Elevated Ag, LLC (“Elevated Ag”). Elevated Ag, LLC, is the owner of
10
     approximately 400 acres of real property located in Kern County, California (“the EA Property”),
11
     planted with valuable citrus trees which produce citrus crop. Defendant Maricopa Orchards,
12
     LLC, is responsible for the management and farming of the EA Property.
13
            On or about March 11, 2022, Elevated Ag, LLC pledged the EA property as a “non-
14
     debtor Trustor” for loans issued by Plaintiff to benefit Maricopa Orchards, LLC. The intention
15
     of the parties was—at that time—that In return for the pledge of the EA Property, Plaintiff would
16
     directly later provide funds directly to Elevated Ag to support the farming of the EA Property.
17
     Plaintiff further filed a UCC-1 financing statement which included hundreds of parcels of real
18
     property, including the EA Property. This financing statement still encumbers the EA Property
19
     and prevents Kevin Assemi from securing crop loans or other necessary funding on behalf of
20
     Elevated Ag to properly fund farming operations on the EA Property.
21
            In the interim, Defendant Maricopa Orchards, LLC, has failed to manage or farm the EA
22
     Property, which has caused severe sunburning of the citrus trees and citrus crop and resulted in
23
     loss of approximately 50% of the crop. Because the Plaintiffs maintain their security interest via
24
     the UCC-1 financing statement, and because they seek to assume the management of Defendant
25
                                   Ex Parte Application to Intervene - 2
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 1   Maricopa Orchard, LLC’s agricultural operations, and further because that defendant is supposed

 2   to be managing the EA Property, Kevin Assemi

 3          Furthermore, Defendant Maricopa Orchards, LLC, has failed to comply with laws and

 4   statutes governing information which must be reported to interested parties, including Kevin

 5   Assemi, which reports information is necessary to for those persons to comply with, among other

 6   things, tax and election laws, and also includes their right to access information regarding

 7   operations and assets

 8          Plaintiffs suit, and specifically the scope of the work for which it seeks appointment of a

 9   receiver, now involve the entanglement of interested non-parties like Kevin Assemi, who, as a

10   substantial owner of Elevated Ag, LLC (whose EA Property is encumbered by Plaintiff’s UCC-

11   1 lien) has an interest in the protection of the EA Property.

12          Proposed Intervenor Kevin Assemi hereby requests the Court permit him to intervene in

13   this matter for the limited purpose of filing a limited objection clarifying that any receiver

14   appointed include in their administration the farming, management, and protection of the EA

15   Property, subject of Plaintiff’s UCC-1 financing statement, and further that any receiver’s duties

16   include provisions of mandatory accounting and other reports required by non-defendant parties

17   to comply with all applicable laws, including tax and election laws.

18

19   Dated: October 25, 2024

20                                                         /s/ Peter A. Sauer
                                                   PeterA. Sauer, attorney or Kevin Assemi,
21                                                 Interested Party and Proposed Intervenor

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                                   Ex Parte Application to Intervene - 3
